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                   13                              UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                      OAKLAND DIVISION

                   16

                   17   In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                        Litigation,
                   18                                                  DEFENDANT GOOGLE LLC’S MOTION TO
                                                                       EXTEND TIME FOR BRIEFING ON
                   19                                                  PLAINTIFFS’ DAUBERT MOTION TO
                        This Document Relates to: all actions          EXCLUDE GOOGLE LLC’S EXPERT BRUCE
                   20                                                  DEAL

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COOLEY LLP
ATTORNEYS AT LAW                                                              GOOGLE LLC’S MOTION TO EXTEND TIME
 SAN FRANCISCO                                                                FOR BRIEFING ON PLFS’ DAUBERT MOTION
                                                                                   CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          Defendant Google LLC (“Google”) respectfully requests that the Court issue an order
                    2   extending the time for its opposition to Plaintiffs’ Daubert motion to exclude the expert deposition
                    3   testimony of Bruce Deal (“Plaintiffs’ Motion,” ECF No. 623-3) by seven days, until December 20,
                    4   2023, with a 19-day extension for Plaintiff’s reply. Absent an extension, Google’s Opposition
                    5   would be due on December 13, 2023.
                    6          Due to multiple intervening deadlines in other matters, including briefing deadlines on two
                    7   dispositive motions in the coming weeks, Google’s counsel requests a brief extension of time to
                    8   prepare its response to Plaintiffs’ Motion. Declaration of Aarti G. Reddy (“Reddy Decl.”) ¶ 2.
                    9   Further, the Motion is lengthy, detailed and incorporates new evidentiary citations; Google
                   10   therefore needs time to confer with Mr. Deal to prepare its response. Id. Google further submits
                   11   that Plaintiffs would not be prejudiced by the requested extension, given that (1) there is presently
                   12   no hearing scheduled on Plaintiffs’ motion for class certification; and (2) the requested extension
                   13   would not alter any other deadline set by this Court. Id. ¶ 7.
                   14          Google regrets burdening the Court with this routine scheduling matter and diligently
                   15   endeavored to resolve this issue with Plaintiffs without seeking judicial intervention. It has, to date,
                   16   cooperated with Plaintiffs in good faith on scheduling matters. For example, Google recently
                   17   consented to Plaintiffs’ request for a two-week extension for their Opposition to Google’s Motion
                   18   to Exclude the Expert Declaration of Neil Richards. ECF No. 605. In this instance, Google sought
                   19   Plaintiffs’ reciprocal agreement to a shorter extension for similar briefing. In requesting an
                   20   extension here, Google offered to extend Plaintiffs’ deadline to file their reply brief by 23 days,
                   21   until January 12, 2024, to address Plaintiffs’ stated concern that Google’s requested extension
                   22   would require their professional staff to assist in the preparation of a brief during the intervening
                   23   holidays. Reddy Decl. ¶ 4. Plaintiffs refused Google’s modest extension request unless Google also
                   24   agreed to a two-month extension of fact discovery and all other case deadlines, none of which are
                   25   affected by briefing on Plaintiffs’ Motion. Reddy Decl. ¶ 5. Google does not believe that further
                   26   delay of the case schedule is warranted at this time, and respectfully seeks this Court’s relief as to
                   27   the deadline for its opposition to Plaintiffs’ Motion.
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ATTORNEYS AT LAW                                                                         GOOGLE LLC’S MOTION TO EXTEND TIME
 SAN FRANCISCO                                                             2             FOR BRIEFING ON PLFS’ DAUBERT MOTION
                                                                                              CASE NO. 4:21-CV-02155-YGR-VKD
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                    1               Based on the foregoing, Google respectfully requests that the Court enter the following
                    2   revised briefing schedule:
                    3              The due date for Google’s opposition to Plaintiffs’ Motion is extended from December 13,
                    4               2023 to December 20, 2023.

                    5              The due date for Plaintiffs’ Reply in support of Plaintiffs’ Motion is extended from
                                    December 20, 2023 to January 8, 2024.
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                    8   Dated: December 4, 2023                                COOLEY LLP
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                   10                                                          By: /s/ Aarti Reddy
                                                                                   Aarti Reddy
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                                                                               Attorney for Defendant
                   12                                                          GOOGLE LLC
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ATTORNEYS AT LAW                                                                         GOOGLE LLC’S MOTION TO EXTEND TIME
 SAN FRANCISCO                                                             3             FOR BRIEFING ON PLFS’ DAUBERT MOTION
                                                                                              CASE NO. 4:21-CV-02155-YGR-VKD
